 Case 21-03032-MBK Doc 110-5 Filed 11/24/21 Entered 11/24/21 16:26:38 Desc
Proposed Order Granting the Official Committee of Talc Claimants Motion fo Page 1 of 3



                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY


  GENOVA BURNS LLC                         BROWN RUDNICK LLP
  Angelo J. Genova, Esq.                   David J. Molton, Esq.
  Daniel M. Stolz, Esq.                    Robert J. Stark, Esq.
  Donald W. Clarke, Esq.                   Michael Winograd, Esq.
  Matthew I.W. Baker, Esq.                 Jeffrey L. Jonas, Esq.
  agenova@genovaburns.com                  dmolton@brownrudnick.com
  dstolz@genovaburns.com                   rstark@brownrudnick.com
  dclarke@genovaburns.com                  mwinograd@brownrudnick.com
  mbaker@genovaburns.com                   jjonas@brownrudnick.com
  110 Allen Road, Suite 304                Seven Times Square
  Basking Ridge, NJ 07920                  New York, NY 10036
  Tel: (973) 467-2700                      Tel: (212) 209-4800
  Fax: (973) 467-8126                      Fax: (212) 209-4801
  Proposed Local Counsel to the Official
  Committee of Talc Claimants              and

                                           Sunni P. Beville, Esq.
                                           sbeville@brownrudnick.com
                                           One Financial Center
                                           Boston, MA 02111
                                           Tel: (617) 856-8200
                                           Fax: (617) 856-8201
                                           Proposed Co-Counsel for the Official
                                           Committee of Talc Claimants

  BAILEY GLASSER LLP                       OTTERBOURG PC
  Brian A. Glasser, Esq.                   Melanie L. Cyganowski, Esq.
  Thomas B. Bennett, Esq.                  Adam C. Silverstein, Esq.
  bglasser@baileyglasser.com               Jennifer S. Feeney, Esq.
  tbennett@baileyglasser.com               mcyganowski@otterbourg.com
  105 Thomas Jefferson St. NW, Suite 540   asilverstein@otterbourg.com
  Washington, DC 20007                     jfeeney@otterbourg.com
  Tel: (202) 463-2101                      230 Park Avenue
  Fax: (202) 463-2103                      New York, NY 10169
  Proposed Co-Counsel for the Official     Tel: (212) 905-3628
  Committee of Talc Claimants              Fax: (212) 682-6104
                                           Proposed Co-Counsel for the Official
                                           Committee of Talc Claimants
 Case 21-03032-MBK Doc 110-5 Filed 11/24/21 Entered 11/24/21 16:26:38 Desc
Proposed Order Granting the Official Committee of Talc Claimants Motion fo Page 2 of 3



  PARKINS LEE & RUBIO LLP                    MASSEY & GAIL LLP
  Leonard M. Parkins, Esq.                   Jonathan S. Massey, Esq.
  Charles M. Rubio, Esq.                     jmassey@masseygail.com
  lparkins@parkinslee.com                    100 Main Ave. SW, Suite 450
  crubio@parkinslee.com                      Washington, DC 20024
  Pennzoil Place                             Tel: (202) 652-4511
  700 Milan St., Suite 1300                  Fax: (312) 379-0467
  Houston, TX 77002                          Proposed Special Counsel for the Official
  Tel: (713) 715-1666                        Committee of Talc Claimants
  Proposed Special Counsel to the Official
  Committee of Talc Claimants


                                               Chapter 11

  In re:                                       Case No.: 21-30589(MBK)

  LTL MANAGEMENT, LLC,                         Honorable Michael B. Kaplan

                               Debtor.



  LTL MANAGEMENT LLC,                           Adv. Pro. No. 21-03032 (MBK)


                               Plaintiff,

           v.


  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT
  and JOHN AND JANE
  DOES 1-1000,

                               Defendants.


      ORDER GRANTING THE OFFICIAL COMMITTEE OF TALC CLAIMANTS’
              MOTION FOR WITHDRAWAL OF THE REFERENCE
              OF ADVERSARY PROCEEDING NO. 21-03032 (MBK)
 Case 21-03032-MBK Doc 110-5 Filed 11/24/21 Entered 11/24/21 16:26:38 Desc
Proposed Order Granting the Official Committee of Talc Claimants Motion fo Page 3 of 3



         UPON the Official Committee of Talc Claimants’ Motion for Withdrawal of the Reference

of the Adversary Proceeding (the “Motion”)1 filed by the Committee appointed in the above-

captioned Case, seeking to withdraw the reference of the above-captioned Adversary Proceeding,

Adv. Pro. No. 21-03032 (MBK), to the Bankruptcy Court, as more fully set forth in the Motion;

and the Court having considered the Motion, any and all filings in support or opposition thereto,

all proceedings before the Court with respect thereto, and the record herein as a whole; and the

Court having jurisdiction to hear the Motion and grant the relief requested therein pursuant to 28

U.S.C. § 157(d), Fed. R. Bankr. P. 5011, and D.N.J. LBR 5011-1; and good and proper notice of

the Motion having been provided; and for good and sufficient cause shown, it is hereby

         ORDERED, that the Motion is granted as set forth herein; and it is further

         ORDERED, that pursuant to 28 U.S.C. § 157(d), the reference of the Adversary

Proceeding, Adv. Pro. No. 21-03032 (MBK), to the Bankruptcy Court is hereby withdrawn to this

Court.


Date: _______________



                                                              UNITED STATES DISTRICT JUDGE
                                                              DISTRICT OF NEW JERSEY




1
         Defined terms used but not defined herein are to be given the meaning ascribed to them in the Motion.
